Case 3:10-cv-02386-L-BGS Document 1 Filed 11/18/10 PageID.1 Page 1 of 8
Case 3:10-cv-02386-L-BGS Document 1 Filed 11/18/10 PageID.2 Page 2 of 8
Case 3:10-cv-02386-L-BGS Document 1 Filed 11/18/10 PageID.3 Page 3 of 8
Case 3:10-cv-02386-L-BGS Document 1 Filed 11/18/10 PageID.4 Page 4 of 8
Case 3:10-cv-02386-L-BGS Document 1 Filed 11/18/10 PageID.5 Page 5 of 8
Case 3:10-cv-02386-L-BGS Document 1 Filed 11/18/10 PageID.6 Page 6 of 8
Case 3:10-cv-02386-L-BGS Document 1 Filed 11/18/10 PageID.7 Page 7 of 8
Case 3:10-cv-02386-L-BGS Document 1 Filed 11/18/10 PageID.8 Page 8 of 8
